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                                                                                          E-FILED
                                                                Friday, 30 March, 2007 10:31:13 AM
                                                                      Clerk, U.S. District Court, ILCD

                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE CENTRAL DISTRICT OF ILLINOIS
                              SPRINGFIELD DIVISION


MICHAEL THOMAS,                                   )
                                                  )
                             Plaintiff,           )
                                                  )
       v.                                         )
                                                  )      No.    06-3020
                                                  )
LT. LAW, et al.,                                  )
                                                  )
                             Defendants.          )


                         MOTION TO SUBSTITUTE COUNSEL

       NOW COME the Defendants, MARK HAUBRICH, JOHN HAMILTON, WILLIE

HEDDEN, KENT JOHNSON, BRYON LAW, KEVIN RIGG, MARTY WINSTON, and JEFF

ZEECK, by and through their attorney, Lisa Madigan, Attorney General for the State of

Illinois, and for their Motion to Substitute Counsel, state as follows:

       1.     The above-referenced case has been reassigned to Assistant Attorney

General Jacob H. Smith. Assistant Attorney General Carrie Kinsella is no longer assigned

to represent the Defendants in this matter.

       2.     It is requested that Assistant Attorney General Carrie Kinsella be removed

as counsel for Defendants.

       WHEREFORE, for the above and foregoing reasons, Defendants respectfully

request this Court allow the substitution of Assistant Attorney General Jacob H. Smith for




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Assistant Attorney General Carrie Kinsella, and that Assistant Attorney General Carrie

Kinsella be removed as counsel for Defendants in this matter.

                                        Respectfully submitted,

                                        MARK HAUBRICH, JOHN HAMILTON, WILLIE
                                        HEDDEN, KENT JOHNSON, BRYON LAW,
                                        KEVIN RIGG, MARTY WINSTON, and JEFF
                                        ZEECK,

                                              Defendants,

                                        LISA MADIGAN, Attorney General,
                                        State of Illinois,

                                              Attorney for Defendants,

                                        BY:     s/Jacob H. Smith
                                              Jacob H. Smith, #6290790
                                              Assistant Attorney General
                                              500 South Second Street
                                              Springfield, IL 62706
                                              Telephone: (217) 782-9014
                                              Facsimile: (217) 524-5091
                                              jsmith@atg.state.il.us




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                               CERTIFICATE OF SERVICE

        I hereby certify that on March 30, 2007, I electronically filed the foregoing Motion to
Substitute Counsel with the Clerk of Court using the CM/ECF system which will send
notification of such filing to the following:

       none

and I hereby certify that on March 30, 2007, I mailed by United States Postal Service, the
document to the following non-registered participants:

       Michael Thomas, #B-71744
       Stateville Correctional Center
       P.O. Box 112
       Joliet, IL 60434


                                           Respectfully submitted,

                                            s/Jacob H. Smith
                                           Jacob H. Smith, #6290790
                                           Assistant Attorney General
                                           500 South Second Street
                                           Springfield, IL 62706
                                           Telephone: (217) 782-9014
                                           Facsimile: (217) 524-5091
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